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OSLO COLE,

 

Plaintiff,
v. No. 04-2755 B/P
YOUTH SERVICES, INC.,

Defendant.

 

ORDER GRANTING PLAINTIFF’S MOTION FOR CONTINUANCE

 

Before the Court is the May 5, 2005 motion for Continuance of the Plaintiff`, OSlo Cole,
seeking an extension of tirne due to Plaintit“t"s counsel’s illness to serve the Def"endant, Youth
Services, Inc. For good cause show, the Court hereby GRANTS the motion and gives Plaintit`{`an
additional thirty (30) days to effect service of the complaint and summons on the Defendant in

accordance with Rule 4(m) of the Federal Rules of Civil Procedure.

IT IS SO ORDERED this joey g:a§ot`, 2005.

UNIEL BREEN
UNI ED STATES DISTRICT TUDGE

Th|e document entered on the docket sheet |n comptiance
with eula se and/or ve(a) FecP on 5 ' ’05

 

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Notice of Distribution

This notice confirms a copy ofthe document docketed as number 14 in
case 2:04-CV-02755 Was distributed by faX, mail, or direct printing on
May 6, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

